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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

    MAHMOUD KHALIL,                                    HON. MICHAEL E. FARBIARZ

                                         Petitioner,   Civ. Act. No. 25-cv-1963 (MEF) (MAH)

          v.                                           NOTICE OF APPEAL

    WILLIAM P. JOYCE, et al.,

                                      Respondents.

         NOTICE is hereby given that Respondents 1 appeal to the United States Court of Appeals for

the Third Circuit from the order entered on June 11, 2025, granting a preliminary injunction. See Dkt.

No. 299. The order is an appealable interlocutory order of the district court under 28 U.S.C. §

1292(a)(1). The order incorporates previously issued opinions. See ECF Nos. 214, 272. Respondents

appeal those opinions that are attendant to the granting of the preliminary injunction.




1
  Respondents are William P. Joyce, Acting Field Office Director of New York, United States
Immigration and Customs Enforcement; Caleb Vitello, Acting Director of United States Immigration
and Customs Enforcement; Kristi Noem, Secretary of the United States Department of Homeland
Security; Pamel Bondi, Attorney General of the United States; Donald J. Trump, President of the
United States; Marco Rubio, Secretary of the United States Department of State; and Yolanda Pittman,
Warden of Elizabeth Contract Detention Facility.
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       NOTICE is hereby given that Respondents also appeal to the United States Court of Appeals

for the Third Circuit from the order entered on June 20, 2025, granting Petitioner’s motion for release

on bail. See ECF No. 316. The order is an appealable interlocutory order of the district court under 28

U.S.C. § 1292(a)(1).

Dated: June 20, 2025
                                                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE


       I hereby certify that, on June 20, 2025, the foregoing Notice of Appeal was served upon

counsel of record for Petitioner by notice of electronic filing with this Court’s CM/ECF system.

                                                      s/ Dhruman Y. Sampat
                                                      DHRUMAN Y. SAMPAT
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